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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 MICHAEL C. STERNBERG, et al.,                           Case No.: 2:23-cv-01466-APG-EJY

 4           Plaintiffs                                 Order Granting State Bar of California
                                                           Defendants’ Motion to Dismiss
 5 v.
                                                                      [ECF No. 234]
 6 SHELLEY WARNECK, et al.,

 7           Defendants

 8         Plaintiff Michael Sternberg sues 75 individuals and entities regarding events arising out

 9 of a custody dispute with the mother of his children, defendant Shelley Warneck. In this order, I

10 address the motion to dismiss filed by defendants Brandon Stallings, Scott Karpf, David

11 Aigboboh, Drew Aresca, Sandra Hernandez, Chelsey Smith, Melanie Dorian, Arianna Le, and

12 Lee Straus (collectively, the California State Bar Defendants). ECF No. 234. These defendants

13 move to dismiss for lack of personal jurisdiction, among other reasons. Sternberg responds by

14 conceding that, based on my rulings with respect to other defendants in this case, he cannot

15 plausibly allege facts to support personal jurisdiction. ECF No. 253. He therefore consents to

16 dismiss these defendants for lack of personal jurisdiction so that he may pursue them in a

17 California court. Id. at 2.

18         I THEREFORE ORDER that defendants Brandon Stallings, Scott Karpf, David

19 Aigboboh, Drew Aresca, Sandra Hernandez, Chelsey Smith, Melanie Dorian, Arianna Le, and

20 Lee Strauss’s motion to dismiss (ECF No. 234) is GRANTED. These defendants are dismissed

21 for lack of personal jurisdiction, without prejudice to plaintiff Michael Sternberg pursuing his

22 claims against them in a proper forum.

23         DATED this 23rd day of July, 2024.
                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
